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 7 United States of America

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-00046 GEB

12                                 Plaintiff,             ORDER SEALING DOCUMENTS AS SET FORTH
                                                          IN GOVERNMENT’S NOTICE
13                          v.

14   ZALATHIEL AGUILA,

15                                Defendant.

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17
            Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s
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     Request to Seal, IT IS HEREBY ORDERED that the government’s sentencing motion pertaining to
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     defendant ZALATHIEL AGUILA, and government’s Request to Seal shall be SEALED until further
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     order of this Court.
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            It is further ordered that access to the sealed documents shall be limited to the government and
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     counsel for the defendant.
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            The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
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     for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in
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     the government’s request, sealing the government’s motion serves a compelling interest. The Court
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     further finds that, in the absence of closure, the compelling interests identified by the government would
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     be harmed. In light of the reasons stated in the government’s request to seal and the public filing of its
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
30    FORTH IN GOVERNMENT’S NOTICE
              Case 2:16-cr-00046-TLN Document 134 Filed 07/23/19 Page 2 of 2

 1 notice to seal, the Court further finds that there are no additional alternatives to sealing the government’s

 2 motion and its request to seal that would adequately protect the compelling interests identified by the

 3 government.

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     Dated: July 22, 2019
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          2
30    FORTH IN GOVERNMENT’S NOTICE
